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: -024 A V. CANTABRANA- PARRA
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UNITED STATES OF AMERICA,

Plaintiff,

Vv.

FRANCISCO CANTABRANA-PARRA (1},
aka Chino,
aka Nono,

OMAR HURACHA-LEDESMA (2),
aka 88,
aka Mark,

KRISTIAN HURACHA-LEDESMA (3),
aka 57,
aka Chino,

RONALD CHARLES REED(4),
aka Bill,

JUAN CARLOS ZERPA-MALPICA(5},
aka Benny,

GONZALO VEGA-HUARACHA (6),
aka Tio Gon,

JACOB GUAJARDO-LEDEZMA (7),
aka JB,

ADALBERTO LEDESMA-BRISENO (8},
aka Piange,

CLAUDETTE QUIROZ GUERRERO (9},

CLAUDIA INIGUEZ HURACHA (10),

Defendants.

The grand jury charges:

JSS: XXXbt:San Diego
7/22/05

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July 2004 Grand Jury

Criminal Case No.04CR2408DMS

2™ Superseding

Title 21, U.S.C., Secs. 846 and
841(a) (1) - Conspiracy to
Distribute Marijuana; Title 18,
U.S.C., Sec. 1956 - Conspiracy to
Launder Monetary Instruments;
Title 21, U.S.C., Sec. 1957 -
Engaging in Monetary Transactions
Derived from Unlawful Activity

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Count 1

‘Beginning in about January 2001 and continuing up to and
including September 22, 2004, within the Southern District of
California, and elsewhere, defendants FRANCISCO CANTABRANA-PARRA, aka
Chino, aka None, OMAR HURACHA-LEDESMA, aka 88, aka Mark, KRISTIAN
HURACHA-LEDESMA, aka 57, aka Chino, RONALD CHARLES REED, aka Bill,
JUAN CARLOS ZERPA-MALPICA, aka Benny, GONZALO VEGA-HUARACHA, aka Tio
Gon, JACOB GUAJARDO-LEDEZMA, aka JB, and ADALBERTO LEDESMA-BRISENO,
aka Piange, did knowingly and intentionally conspire and agree with
each other and with others known and unknown to the grand jury, to
distribute 1000 kilograms and more of marijuana, a Schedule I
Controlled Substance.
All in violation of Title 21, United States Code, Sections 846
and 841/(a) (1)

METHOD AND MEANS

As part of and to facilitate the charged conspiracy, the
conspirators, both named and unnamed, did utilize the following method
and means, among others:

1. Defendant FRANCISCO CANTABRANA-PARRA, aka Chino, aka Nono,
purchased marijuana in the Republic of Mexico, and arranged for the
importation of those drugs into the United States;

2. Defendant OMAR HURACHA-LEDESMA, aka 88, aka Mark, purchased
marijuana from defendant FRANCISCO CANTABRANA-PARRA, aka Chino,
aka Nono, which he then sold to his own drug customers;

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3. Defendants OMAR HURACHA-LEDESMA, aka 88, aka Mark, KRISTIAN
HURACHA-LEDESMA, aka 57, aka Chino, and ADALBERTO LEDESMA-~BRISENO, aka
Piange, would equip vans to make them look like telecomminications
service vehicles and then use them to transport marijuana to defendant
OMAR HURACHA-LEDESMA’s, aka 88, aka Mark, drug customers;

4, Defendant RONALD CHARLES REED, aka Bill, would store the
vans used to transport drugs for defendant OMAR HURACHA-LEDESMA,
aka 88, aka Mark, and would drive them, at defendant OMAR HURACHA-
LEDESMA's, aka 88, aka Mark, direction, to defendant OMAR HURACHA-
LEDESMA's, aka 88, aka Mark, drug customers;

5. Defendants KRISTIAN HURACHA-LEDESMA, aka 57, aka Chino, JUAN
CARLOS ZERPA-MALPICA, aka Benny, GONZALO VEGA-HUARACHA, aka Tio Gon,
JACOB GUAJARDO-LEDEZMA, aka JB, and ADALBERTO LEDESMA-BRISENO, aka
Piange, would assist in the storage of the marijuana and in its
delivery to defendant OMAR HURACHA-LEDESMA’s, aka 88, aka Mark, drug
customers.

Count 2

Beginning in about January 2001 and continuing up to and
including September 22, 2004, within the Southern District of
California, and elsewhere, defendants OMAR HURACHA-LEDESMA, aka 88,
aka Mark, KRISTIAN HURACHA-LEDESMA, aka 57, aka Chino, JACOB GUAJARDO-
LEDEZMA, aka JB, and CLAUDETTE QUIROZ-GUERRERO, did knowingly and
intentionally conspire together and with others known and unknown to
the grand jury to commit offenses against the United States under
Title 18, United States Code, Section 1956, namely:
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1. Knowing that property involved in a financial transaction
represented proceeds of some form of unlawful activity, which was, in
fact, the distribution of a controlled substance, to wit: marijuana,
in violation of Title 21, United States Code, Section 841{a) (1),
conducted and attempted to conduct financial transactions affecting
interstate and foreign commerce, knowing that the transactions were
designed in whole or in part to promote the carrying on of said
specified unlawful activity, in violation of Title 18, United States
Code, Section 1956(a)(1)} (A} (1); and

2. Knowing that property involved in a financial transaction
represented proceeds of some form of unlawful activity, which was, in
fact, the distribution of a controlled substance, to wit: marijuana,
in violation of Title 21, United States Code, Section 841(a) (1),
conducted and attempted to conduct financial transactions affecting
interstate commerce, knowing that the transactions were designed in
whole or in part to conceal and disguise the nature, location, source,
ownership and control of said proceeds, in violation of Title 18,
United States Code, Section 1956(a) (1) (B) (i).

3, Knowing that property involved in a financial transaction
represented proceeds of some form of unlawful activity, which was, in
fact, the distribution of a controlled substance, in violation of
Title 21,_ United States Code, Section 841(a)(1), conducted and
attempted to conduct financial transactions affecting interstate
commerce, knowing that the transaction was designed in whole and in
part to avoid a transaction reporting requirement under Federal law,
in violation of Title 18, United States Code,
Section 1956(a} (1) (B) (ii).

All in violation of Title 18, United States Code, Section 1956(h).

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Count 3
On or about August 2, 2001, in the Southern District of
California, defendant CLAUDIA INIGUEZ HURACHA knowingly engaged in a
monetary transaction by, through, and to a financial institution,
affecting interstate commerce, in criminally derived property of a
value greater than $10,000, that is, defendant CLAUDIA INIGUEZ HURACHA
negotiated a check in the amount of $10,763.02, such property having
been derived from specified unlawful activity, that is, a conspiracy
to distribute marijuana, a Schedule I controlled substance, in
violation of 21 USC 846 and 841(a)({1), all in violation of Title 18,
United States Code, Sections 1957 and 2.
Count 4
On or about November 19, 2001, in the Southern District of
California, defendant CLAUDIA INIGUEZ HURACHA knowingly engaged in a
monetary transaction by, through, and to a financial institution,
affecting interstate commerce, in criminally derived property of a
value greater than $10,000, that is, defendant CLAUDIA INIGUEZ HURACHA
negotiated a check in the amount of $10,951.62, such property having
been derived from specified unlawful activity, that is, a conspiracy
to distribute marijuana, a Schedule I controlled substance, in
violation of 21 USC 846 and 84i(a) (1), all in violation of Title 18,
United States Code, Sections 1957 and 2.
Count 5
On or about December 6, 2001, in the Southern District of
California, defendant CLAUDETTE QUIROZ GUERRERO knowingly engaged in
a monetary transaction by, through, and to a financial institution,
affecting interstate commerce, in criminally derived property of a

value greater than $10,000, that is, defendant CLAUDETTE QUIROZ

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GUERRERO placed a deposit of $14,000.00 into an escrow account_at
Bonita Escrow, such property having been derived from specified
unlawful activity, that is, a conspiracy to distribute marijuana, a
Schedule I controlled substance, in violation of Title 21, United
States Code, Sections 846 and 841(a}(1), all in violation of Title 18,
United States Code, Sections 1957 and 2.
Count 6

On or about December 10, 2001, in the Southern District of
California, defendant CLAUDETTE QUIROZ GUERRERO knowingly engaged in
a monetary transaction by, through, and to a financial institution,
affecting interstate commerce, in criminally derived property of a
value greater than $10,000, that is, defendant CLAUDETTE QUIROZ
GUERRERO placed a deposit of $17,980.00 into an escrow account at
Bonita Escrow, such property having been derived from specified
unlawful activity, that is, a conspiracy to distribute marijuana, a
Schedule I controlled substance, in violation of Title 21, United
States Code, Sections 846 and 841(a) (1), all in violation of Title 18,
United States Code, Sections 1957 and 2.

Count 7

On or about April 28, 2003, in the Southern District of
California, defendants OMAR HURACHA-LEDESMA, aka 88, aka Mark, and
CLAUDIA INIGUEZ HURACHA knowingly engaged in a monetary transaction
by, through, and to a financial institution, affecting interstate
commerce, in criminally derived property of a value greater than
$10,000, that is, defendants OMAR HURACHA-LEDESMA, aka 88, aka Mark,
and CLAUDIA INIGUEZ HURACHA made a cash down payment in the amount of
$40,000 on the purchase of a 2002 BMW 745 Li automobile, such property

having been derived from specified unlawful activity, that is, a

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conspiracy to distribute marijuana, a Schedule I controlled substance,
in violation of Title 21, United States Cdde,, Sections 846. and
841(a)(1), all in violation of Title 18, United States Code,
Sections 1957 and 2.
Count 8

On or about July 26, 2003, in the Southern District of
California, defendants OMAR HURACHA-LEDESMA, aka 88, aka Mark, and
CLAUDIA INIGUEZ HURACHA knowingly engaged in a monetary transaction
by, through, and to a financial institution, affecting interstate
commerce, in criminally derived property of a value greater than
$10,000, that is, defendants OMAR HURACHA-LEDESMA, aka 88, aka Mark,
and CLAUDIA INIGUEZ HURACHA made a cash down payment in the amount of
$35,000 on the purchase of a’ 2003 Range Rover automobile, such
property having been derived from specified unlawful activity, that
is, a conspiracy to distribute marijuana, a Schedule I controlled
substance, in violation of Title 21, United States Code, Sections 846
and 841(a)(1}), all in violation of Title 18, United States Code,
Sections 1957 and 2.

FORFEITURE ALLEGATION

Drug Trafficking Forfeiture

The allegations contained in Count 1 are realleged and by
reference are fully incorporated herein to allege forfeiture to the
United States of America pursuant to the provisions of Title 21,
United States Code, Section 853.

1. As a result of the commission of the felony offenses alleged
in Count 1, a violation punishable by imprisonment for more than one
year, and pursuant to Title 21, United States Code, Section 853 (a) (1),

defendants FRANCISCO CANTABRANA-PARRA, aka Chino, aka Nono, OMAR

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HURACHA-LEDESMA, aka 88, aka Mark, KRISTIAN HURACHA-LEDESMA, aka 57,
aka Chino, RONALD CHARLES REED, aka Bill, JUAN CARLOS ZERPA-MALPICA,
aka Benny, GONZALO VEGA-HUARACHA, aka Tio Gon, JACOB GUAJARDO-LEDEZMA,
aka JB, and ADALBERTO LEDESMA-BRISENO, aka Piange, shall, upon
conviction, forfeit to the United States all their rights, title, and
interest in all property constituting, and derived from, any proceeds
the defendants obtained, directly or indirectly, as the result of the
commission of the violation alleged in Count 1 of this indictment.

2. Also as a result of the commission of the felony offense

alleged in Count 1, a violation punishable by imprisonment for more

than one year, and pursuant to Title 21, United States Code,
Section 853(a) (2), defendants FRANCISCO CANTABRANA-PARRA, aka Chino,
aka Nono, OMAR HURACHA-LEDESMA, aka 88, aka Mark, KRISTIAN HURACHA-
LEDESMA, aka 57, aka Chino, RONALD CHARLES REED, aka Bill, JUAN CARLOS
ZERPA-MALPICA, aka Benny, GONZALO VEGA-HUARACHA, aka Tio Gon, JACOB
GUAJARDO-LEDEZMA, aka JB, and ADALBERTO LEDESMA-BRISENO, aka Piange,
shall, upon conviction, forfeit to the United States all their rights,
title, and interest in all property used and intended to be used in
any manner or part to commit or to facilitate the commission of the
violation alleged in Count 1 of this indictment, including but not
limited to the following:

a. 1998 Ford van, vehicle identification number
1FTRE1420WHB068390

b. 524 Carlos Canyon Court, Chula Vista CA 91910, and all
appurtenances affixed thereto. The real property is more particularly
described as
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APN No. 593-143-04-00
LOT 28 OF CHULA VISTA TRACT NO. 88-1 RANCHO DEL REY PHASE
4, UNIT NO. 2, IN THE CITY OF CHULA VISTA, COUNTY OF SAN
DIEGO, STATE OF CALIFORNIA, ACCORDING TO MAP THEREOF NO.
12367, FILED IN THE OFFICE OF THE COUNTY RECORDER OF SAN
DIEGO COUNTY, MAY 5, 1989. ,
c. $8,000,000 in United States currency and all interest
and proceeds traceable thereto.
3. If any of the forfeitable property referred to above, as a
result of any act or omission of the defendants,
a. cannot be located upon the existence of due diligence;

b. has been transferred or sold to or deposited with a

third person;

Cc. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot

be subdivided without difficulty;
it is the intent of the United States, pursuant to Title 21, United
States Code, Section 853(p), to seek forfeiture of any other property
of the defendants up to the value of the above forfeited property.
Money Laundering Forfeiture

The allegations contained in Count 2 are realleged and by
reference are fully incorporated herein to allege forfeiture to the
United States of America pursuant to the provisions of Title 18,
United States Code, Section 982(a) (1).

1. As a result of committing the offense alleged in Count 2,
defendants OMAR HURACHA-LEDESMA, aka 88, aka Mark, KRISTIAN HURACHA-
LEDESMA, aka 57, aka Chino, RONALD CHARLES REED, aka Bill, JACOB
GUAJARDO-LEDEZMA, aka JB, and CLAUDETTE QUIROZ-GUERRERO, shall,

pursuant to Title 18, United States Code, Section 982(a) (1), forfeit

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to the United States all property, real and personal, involved in the
aforestated offense and all property traceable to such property,
including but not limited to the following:

a. 713 Terra Nova Drive, Chula Vista, CA 91910, and all
appurtenances affixed thereto. The real property is more particularly
described as

APN No. 593~400-02-00
LOT 3 OF CHULA VISTA TRACT NO. 89-5 RANCHO DEL REY SPA II
PHASE 2, UNIT NO. 3, IN THE CITY OF CHULA VISTA, COUNTY OF
SAN DIEGO, STATE OF CALIFORNIA, ACCORDING TO MAP THEREOF
NO. 12722, FILED IN THE OFFICE OF THE COUNTY RECORDER OF
SAN DIEGO COUNTY, OCTOBER 1, 1990.

b. 524 Carlos Canyon Court, Chula Vista CA 91910, and all

appurtenances affixed thereto. The real property is more particularly
described as
APN No. 593~143-04-00
LOT 28 OF CHULA VISTA TRACT NO. 88-1 RANCHO DEL REY PHASE
4, UNIT NO. 2, IN THE CITY OF CHULA VISTA, COUNTY OF SAN
DIEGO, STATE OF CALIFORNIA, ACCORDING TO MAP THEREOF NO.
12367, FILED IN THE OFFICE OF THE COUNTY RECORDER OF SAN
DIEGO COUNTY, MAY 5, 1989.
Cc. $8,000,000 in United States currency and all interest
and proceeds traceable thereto.
2. If any of the above described forfeitable property, as a
result of any act or omission of the defendants -
a. Cannot be located upon the exercise of due diligence;

b, Has been transferred or sold to, or deposited with,

a third person;

c. Has been placed beyond the jurisdiction of this Court;
d. Has been substantially diminished in value; or
e, Has been commingled with other property which cannot

be subdivided without difficulty;

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it is the intent of the United States, pursuant to Title 18,
United States Code, Section 982(b)(1} to seek forfeiture of any other
property of said defendant up to the value of the above forfeitable
property.

DATED: July 22, 2005. -

A TRUE BILL:

CAROL C. LAM
United States Attorney

SRPH S. S , OR.
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BY DEPUTY

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

July 2004 Grand Jury

UNITED STATES OF AMERICA,
Plaintiff,

Vv.

FRANCISCO CANTABRANA-PARRA (1),

aka Chino,
aka Nono,

OMAR HURACHA-LEDESMA (2),
aka 88,
aka Mark,

KRISTIAN HURACHA-LEDESMA
aka 57,
aka Chino,

RONALD CHARLES REED(4)}),
aka Bill,

JUAN CARLOS ZERPA-MALPICA(5}),
aka Benny,

GONZALO VEGA-HUARACHA (6),
aka Tio Gon,

JACOB GUAJARDG-LEDEZMA (7},
aka JB,

(3),

ADALBERTO LEDESMA-BRISENO (8),
aka Piange,
CLAUDETTE QUIROZ GUERRERO (9),

CLAUDIA INIGUEZ HURACHA (10),

Defendants.

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The grand jury charges:

JSS:XXXbt:San Diego
7/22/05

Criminal Case No.04CR2408DMS5

INDICTMENT

AM Yea se LHP SL

2™ Superseding

Title 21, U.S.C., Secs. 846 and
841(a) (1) - Conspiracy to
Distribute Marijuana; Title 18,
U.S.C., Sec. 1956 - Conspiracy to
Launder Monetary Instruments;
Title 21, U.S.C., Sec. 1957 -
Engaging in Monetary Transactions
Derived from Unlawful Activity

